                    Case 3:08-cr-00006-LRH-WGC                          Document 165       Filed 11/05/10        Page 1 of 2
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                                     PlaintiR                                   M OTION TO REM OVE C                       NT
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                           vs.                                                  BA SED 0N IRRECON CILABLE
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         DAltm JEROM E FRENCH,
         JENNIFER LYNN FREN CH                                                  M O TION TO A M END TR AVEL
11                                                                              CO NDITIO N S
                                     Defendants                                          AND ORDER THEREON
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                           CO M ES N O W ,JenniferLyzm French,135 R ussellA venue,Susanville,
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         California 96130,Pm Perand bringqthe follpw ing M OTION TO A M ENlD
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               Defendantwasqranted Pro Sv Sut'uson Septem ber 8,2010.D efehdantwas
18           .    .     '   W                 .

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         alsojustgrantedhermotion on October19tbto filePre--rrialM otions Defendant                             .



         needsto travelfreely within theD istictsofN orthern,Centraland Southern
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         California,and theD istrictofN evada.D efendantasksthisCourtto granther
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         requestto Am end TravelConditionsto includethoseareas.Any furthertravel
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         wouldbesubjecttoPre-Trialapproval,butDefendantpresently doesnotanticipate
         travelto statesotherthan Nevada orCalifornia.Y ourH onor,The G overnm ent,and
24
         Pre-TrialServicesisaw areofDefendant's4 sm allchildren and close fmnily
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         connectionsto Suqww ille,Califorpia.'D efendarq hasabided by ,
                                                                      a1lPre-Trial '..
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                                    by grantingtheseamendedtravelconditionsinorderfor i
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         Defendapyto prepal
                          reforvtrialsetin February 2011'. '                                         :',;. ,
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       Case 3:08-cr-00006-LRH-WGC    Document 165      Filed 11/05/10   Page 2 of 2




 '       D efendanthasaPre-TrialM otion deadline ofN ovem ber 17th, 2010 and this
 2 M otion foram ended travelconditionsisofurgentattention and respectfully
 3 submitted forthe Court'sprom ptconsideration.                                      .
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5        DATED this20thday ofOctober, 20 10.
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12       IT IS SO O RD ERED
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         This this 5th day
                       day of
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                                         ,2010.
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17                               U NIR'ED STATES  DISTRICT JUD GE
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18                                            LARRY R. HICKS
                                              UNITED STATES DISTRICT JUDGE
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